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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA,

         Plaintiff,

                v.
                                                    Case No. 2:22-cv-05209-GJP
 AMERISOURCEBERGEN CORPORATION;
 AMERISOURCEBERGEN DRUG
 CORPORATION; and INTEGRATED
 COMMERCIALIZATION SOLUTIONS, LLC,

         Defendants.


                            WITHDRAWAL OF APPEARANCE

       Kindly withdraw my appearance on behalf of Defendants AmerisourceBergen Corporation

(n/k/a Cencora, Inc.), AmerisourceBergen Drug Corporation, and Integrated Commercialization

Solutions, LLC (“Defendants”), in the above-captioned matter. Defendants will continue to be

represented by counsel who have previously entered an appearance on their behalf.

Dated: December 6, 2023                                   Respectfully submitted,

                                                           /s/ Charles S. Korschun
                                                          Charles S. Korschun (pro hac vice)
                                                          GIBBONS P.C.
                                                          One Gateway Center
                                                          Newark, NJ 07940
                                                          212-596-4500
                                                          ckorschun@gibbonslaw.com
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 6, 2023, I served a true and correct copy of the foregoing

upon all counsel of record via the Court’s CM/ECF electronic filing system.



                                                            /s/ Charles S. Korschun
                                                              Charles S. Korschun
